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 1    HEATHER E. WILLIAMS, Bar #122664
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 5
      Attorneys for Defendant
 6    HECTOR MADRIZ TORRES

 7
 8                             IN THE UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

10
11     UNITED STATES OF AMERICA,                     Case No. 1:18-cr-00126 DAD

12                      Plaintiff,                   STIPULATION TO CONTINUE
                                                     SENTENCING, ORDER THEREON
13     vs.
                                                     Date: September 29, 2020
14     HECTOR MADRIZ TORRES,                         Time: 9:00 a.m.
                                                     Judge: Hon. Dale A. Drozd
15                     Defendant.

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17
18           IT IS HEREBY STIPULATED by and between the parties through their respective
19    counsel that the sentencing hearing scheduled for August 25, 2020 may be may be continued to
20    September 29, 2020, or another date convenient to the court.
21           Mr. Torres is housed at the Fresno County Jail. He recently tested positive for
22    coronavirus and was placed in quarantine. While Torres was in quarantine defense counsel was
23    unable to schedule a confidential telephone or zoom call with Mr. Torres. This continuance is
24    requested to allow time for defense to communicate confidentially with Mr. Torres, and conduct
25    additional investigation based on the contents of the call. Counsel believes this is necessary for
26    effective sentencing preparation.
27    ///
28    ///
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 1             The parties agree that the delay resulting from this request shall be excluded in the

 2    interest of justice, and for effective defense investigation and preparation, pursuant to 18

 3    U.S.C. §§ 3161(h)(7)(A) and 3161(h)(7)(B)(iv).

 4
 5                                                                   McGREGOR W. SCOTT
                                                                     United States Attorney
 6
 7    DATED: August 18, 2020                                  By     /s/ Vincenza Rabenn
                                                                     VINCENZA RABENN
 8                                                                   Assistant United States Attorney
                                                                     Attorneys for Plaintiff
 9
10                                                                   HEATHER E. WILLIAMS
                                                                     Federal Defender
11
12    DATED: August 18, 2020                                  By     /s/ Eric V. Kersten
                                                                     ERIC V. KERSTEN
13                                                                   Assistant Federal Defender
                                                                     Attorneys for Defendant
14                                                                   HECTOR MADRIZ TORRES

15
16
17                                                   ORDER

18             IT IS SO ORDERED. For the reasons set forth above sentencing is continued to

19    September 29, 2020 at 09:00 AM.

20    IT IS SO ORDERED.

21        Dated:       August 19, 2020
22                                                        UNITED STATES DISTRICT JUDGE

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28
       Torres : Stipulation to Continue Sentencing      -2-
